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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                                June 5, 2020
                         _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                            No. 20-6010
                                                      (D.C. No. 5:18-CR-00227-SLP-1)
  JOSEPH MALDONADO-PASSAGE,                                     (W.D. Okla.)
  a/k/a Joseph Allen Maldonado, a/k/a
  Joseph Allen Schreibvogel, a/k/a Joe
  Exotic,

        Defendant - Appellant.
                       _________________________________

                                      ORDER
                         _________________________________

        This matter is before the court on the Office of the Federal Public Defender for the

 Districts of Colorado and Wyoming’s (FPD) Motion to Withdraw as Appointed Counsel.

 Appellant Joseph Maldonado-Passage has retained attorney Brandon Sample, and Mr.

 Sample has entered his appearance in this appeal.

        Upon consideration, the motion to withdraw is granted. The FPD shall have no

 further obligations in this appeal. However, on or before June 15, 2020, the FPD is

 directed to transmit to Mr. Sample all documents in its possession pertinent to this appeal

 that are not available electronically or on PACER.

        In addition, we note the following impact of the entry of retained counsel on this

 appeal. This appeal was proceeding under the Criminal Justice Act with a record on

 appeal that was already transmitted by the district court. The appeal will now proceed
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 under Federal Rule of Appellate Procedure 30 and Tenth Circuit Rule 30.1, and Mr.

 Maldonado-Passage will be required to file an appendix concurrently with his opening

 brief.

          Finally, because Mr. Maldonado-Passage was previously represented by the FPD,

 Mr. Maldonado-Passage shall show cause to this court in writing why he should not be

 ordered to reimburse the government for expenses paid on his behalf under the Criminal

 Justice Act. See 18 U.S.C. § 3006A(f); 10th Cir. R. Addendum I, Criminal Justice Act

 Plan, § V. Mr. Maldonado-Passage’s current financial status and continued eligibility to

 proceed in forma pauperis, as well as the source of payment of retained counsel’s legal

 expenses, are relevant to the response. Mr. Maldonado-Passage’s response to this order

 must be filed and served on or before June 15, 2020.

          Mr. Maldonado-Passage’s opening brief remains due June 25, 2020.


                                              Entered for the Court
                                              CHRISTOPHER M. WOLPERT, Clerk



                                              By: Olenka M. George
                                                  Counsel to the Clerk




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